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                    UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                          JAN 20 2022
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
RONALD KENNETH STRASSER, Jr.,                    No.   21-36044

                Plaintiff-Appellant,             D.C. No. 3:19-cv-01051-SI
                                                 District of Oregon,
 v.                                              Portland

STATE OF OREGON, by and through                  ORDER
Governor Kate Brown, in her individual
capacity; et al.,

                Defendants-Appellees.

Before: TALLMAN, CHRISTEN, and NGUYEN, Circuit Judges.

      A review of the record demonstrates that this court lacks jurisdiction over

this appeal because the district court’s November 5, 2021 order challenged in the

appeal is not final or appealable. See 28 U.S.C. § 1291; Fed. R. Civ. P. 54(b);

Chacon v. Babcock, 640 F.2d 221, 222 (9th Cir. 1981) (order disposing of fewer

than all claims against all parties not immediately appealable unless district court

directs entry of judgment pursuant to Fed. R. Civ. P. 54(b)).

      DISMISSED.




AT/MOATT
